                IN THE UNITED STATE DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION

JITENDRA JAIN,
MANISH ARORA,
SCARIYA KUMARAMANGALAM,
HARSH DATTA, BALVANT ARORA,
as individuals, and derivatively on behalf
of NEXGEN MEMANTINE INC.,
             Plaintiffs,
vs.                                          Case No.: 8:20-cv-02263-VMC-JSS

NEXGEN MEMANTINE INC.,
SUREN AJJARAPU, ANNAPURNA
GUNDLAPALLI, GAJAN MAHENDIRAN,
NEXGEN LIFESCIENCES LLC, TRXADE
GROUP, INC., and G&S COAL TRADERS, LLC,
         Defendants
                                                  /
SUREN AJJARAPU, ANNAPURNA
GUNDLAPALLI, NEXGEN MEMANTINE,
INC.,
         Defendants/Cross-Claim Plaintiffs/
         Cross Counter-Claim Defendants,
v.

GAJAN MAHENDIRAN,
        Defendant/Cross-Claim Defendant,
                                                  /
TRXADE GROUP, INC.,
        Defendant/Cross-claim Plaintiff/
        Cross Counter-claim Defendant.
v.
GAJAN MAHENDIRAN,
        Defendant/Cross-Claim Defendant.
                                                  /
GAJAN MAHENDIRAN,
        Defendant/Cross Counter-Claim
        Plaintiff,

v.

SUREN AJJARAPU, a Florida Resident, and
G&S COAL TRADERS, LLC, a Wyoming Limited
Liability Company,
            Defendants/Cross Counter-Claim
            Defendants.
                                             /
GAJAN MAHENDIRAN ,
            Defendant/Cross-Claim Defendant/
            Counter-Claim Plaintiff,
v.

TRXADE GROUP, INC.,
        Defendant/Cross Counter-Claim
        Defendant,
                                                   /

                 DEFENDANT SUREN AJJARAPU’S
     RESPONSES TO PLAINTIFFS’ FIRST REQUESTS FOR ADMISSION

       Defendant Suren Ajjarapu’s (“Ajjarapu”), through undersigned counsel, and

pursuant to Rule 36 of the Federal Rules of Civil Procedure, responds to Plaintiffs’

First Requests for Admission as follows:

       Ajjarapu objects to these Requests for Admission because they blatantly

disregard the parameters and scope set forth in Federal Rule of Procedure 26(b).

Plaintiffs seek admissions to 87 requests, without regard to whether the request or

admission sought is relevant to any party’s claim or defense. As set forth in

Plaintiffs’ Second Amended Verified Complaint (“Compl.”), only 5 transfers are
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                                     Annapurna Gundlapalli, and Trxade, Inc.

                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on September 10, 2021, a true and correct copy of

the foregoing document was served via email to:

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                                          /s/ Paul Thanasides
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